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|N THE UN|TED STATES D|STR|CT COURT
FOR THE SOUTHERN D|STFllCT OF OH|O
WESTERN D|V|S|ON

SANDRA FUNK, on behalf of
herself and others similarly

situated,
P|aintiff' ; CaSe NO. 3217~CV-260
V_ JUDGE WALTER H. RlCE
AlRSTREA|\/l, lNC., et a/.,

Defendants.

 

DECIS|ON AND ORDER CLARIFY|NG DEC|S|ON AND ENTRY SUSTA|N!NG
PLA|NT|FFS’ |VlOTlON FOR COND|T|ONAL CLASS CERT|FICAT|ON AND
COURT-SUPERV|SED NOT|CE TO POTENT|AL OPT-lN PLAlNlTFFS
PURSUANT TO 29 U.S.C. § 216(b) (DOC. #38); |NSTRUCT|ONS TO
COUNSEL

 

|n its |Vlay 16, 2018, Decision and Entry Sustaining P|aintiffs’ l\/lotion for
Conditiona| C|ass Certification and Court-Supervised Notice to Potentia| Opt-in
Plaintiffs Pursuant to 29 U.S.C. § 216(b), Doc. #38, the Court ordered
Defendants, Within ‘|4 days, to provide to P|aintiffs' counsel a |ist, in electronic
and importab|e format of the names, job titles, last known addresses, telephone
numbers, e-mail addresses, and dates of employment of all potential opt-in
plaintiffs.

During the conference call held that same afternoon, the Court indicated that
it Would approve the sending of the Notice of Collective Action via regular mail and

e-mail, and Would approve the sending ot a ”reminder notice” via e-mai| halfway

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through the 90-day opt-in period. Counse| for Defendants, however, indicated that
Airstream does not collect e-mail addresses of its employees.

ln order to avoid delay in sending the Notice of Co|lective Action, it Was
agreed that the Notice Would be sent via regular mail only. The ”Consent to Join”
form would be amended to include a line for the opt-in plaintiff’s e-mai| address. ln
addition, Defendants would collect the e-mai| addresses of all potential opt-in
plaintiffs and would submit them to Plaintiffs' counsel within 45 days so that the
”reminder notices” may be sent via e-rnai|.

|n its Decision and Entry, the Court certified a collective FLSA class
consisting of:

A|l current and former hour|y, non-exempt employees of Defendants,

Who Were paid by Airstream, lnc.r and received any additional form of

remuneration during any workweek that they worked over 40 hours in

any Workweek beginning |Vlarch 1, 2015, and continuing through the

date of final disposition of this case.
Doc. #38, PagelD#346. Fo|lowing discussions with counsel, the Court
modifies the class as follows in order to avoid any confusion stemming from
the fact that the parties have agreed that it is premature to determine
whether Thor |ndustries, |nc., may be held liable as a ”joint employer." The
modified class shall consist of the following:

A|l current and former hourly, non-exempt employees of Airstream,

|nc., who received any additional form of remuneration during any

Workweek that they worked over 40 hours in any workweek

beginning lV|arch ‘l, 2015, and continuing through the date of final
disposition of this case.

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As discussed during the conference call, the Court has also made other
minor revisions to the proposed “Notice of Collective Action Lawsuit" and to the
”Consent to Join" form. The revisions are attached to this Decision and Entry.
Counsel is directed to review the proposed revisions. No later than close of
business on l\/lay 18, 2018, counsel shall send a joint email to
rice chambers@ohsd.uscourts.gov, indicating their objections, if any. The Court
will immediately review those objections and, if needed, will set up a conference
call with counsel.

Assuming that Defendants have provided all contact information for the
potential opt-in plaintiffs by l\/|ay 30, 2018, the Court presumes that Plaintiffs’
counsel will be able to mail the ”Notice of Collective Action Lawsuit" and the
”Consent to Join” forms no later than June 4, 2018. Accordingly, the opt-in

period will run from June 4, 2018, to September 4, 2018.

Date: |V|ay 17, 2018 MVQ

WALTER H. Fl|CE
UN|TED STATES D|STR|CT JUDGE

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NOTICE ()F COLLECTIVE ACTION LAWSUIT

Sandra Funk, et al. v. Airstream Irrc., et al., 3:17-cv-260
United States District Court, Southern District of Ohio
Western Division at Dayton

TO: All current and former hourly, non-exempt employees of Airstream, Inc., who received any
additional form of remuneration during any workweek that they worked over 40 hours in any
workweek beginning March l, 2015, and continuing through the date of final disposition of this
case.

RE: Funk. et al. v. Airstream, Inc., et al.
DEADLINE: September 4, 2018
PLEASE READ THIS NOTICE CAREFULLY

I. THE EFFECT OF RECEIVING CORRESPONDENCE AND/OR PAYMENT FROM
AIRSTREAM

Between March and May 2018, you may have received payments from Airstream, Inc.
(“Airstream”) along with correspondence in which Airstream stated that the payments were being made
for compensation of back overtime owed to you. If you received any such correspondence and/or
payment(s) from Airstream between March 2018 and May 2018, you still have the right to participate in
this lawsuit. The additional payment(s) received cannot be used as either a settlement of your claims or a
waiver of liability. However, the additional payment(s) may reduce any recovery that you might otherwise
be entitled to receive. By electing to participate in this lawsuit, you may or may not be entitled to recover
in excess of what Airstream has paid you to date. The right to recovery is not established and is not certain.

You are protected from retaliation for your participation in this lawsuit as more fully explained in
Section IV.

II. INTRODUCTION

The purpose of this Notice is to inform you of the existence of a collective action lawsuit and your option
to elect to participate in the lawsuit. You should be aware that this collective action lawsuit is only in the early
stages The tight to recovery is not established and is not certain. Your decision to participate in this lawsuit
does not guarantee that you will receive money. Airstream denies the claims in the lawsuit and denies that it owes
additional money to any current or former employees for hours worked in excess of forty (40) in any given
workweek.

The Fair Labor Standards Act (“FLSA”) protects the right of full-time, hourly employees to be
compensated at their regular rates for each hour worked. In addition, it protects the right of employees to be paid
overtime at a rate of one and one-half times the individual's regular rate for all hours worked in excess of 40 per
Week. A Worker may bring a “collective action" on his or her own behalf and on behalf of similarly situated
employees The Worker(s) Who bn`ngs the lawsuit is called a plaintiff, and those Who are sued are called
defendants With some exceptions, the right to be paid exists even for small amounts of unpaid time.

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IIl. DESCRIP'I`ION OF THE LAWSUIT

On March l, 2018 Sandra Funk started this collective action lawsuit (“Funk” or the “Plaintiff") against
Airstream, lnc. (“Airstream”) and Thor Industries, Inc., on behalf of herself and other similarly situated employees
of Airstream because Funk believes they were not compensated at one and one-half times the regular rate of pay
for all hours worked in excess of forty (40) hours. Mark Satterly joined the case on March 30, 2018, and Tamera
Gates joined the case on May 7, 2018 (collectively, Funk, Satterly, and Gates will be called “Plaintiffs”).

Plaintiffs allege that Airstream employees were not paid overtime at the proper rate of pay because
Airstream failed to include nondiscretionary bonuses, such as Attendance bonuses and AIRPOOL production
bonuses, in its overtime calculations. If Airstream included these non-discretionary bonus payments, employees
would have been paid for overtime at a higher rate of pay for every overtime hour worked.

The lawsuit claims that Plaintiffs and others similarly situated were improperly denied overtime
compensation in violation of the FLSA. This lawsuit seeks lost overtime wages and an additional equal amount
in “liquidated damages,” plus litigation costs, expenses, and attorney’s fees. ln addition, this lawsuit requests an
injunction to prohibit Airstream from engaging in alleged future violations of the FLSA.

Airstream denies the Plaintiffs’ claims and contends that it, in good faith and at all times, attempted to
comply with the overtime pay requirements of the FLSA. lf any overtime pay was improperly calculated,
Airstream contends such calculation(s) occurred inadvertently by mistake and were not made intentionally
Airstream also contends that the payments Airstream made for back overtime between March 2018 and May 2018
compensate fully for any overtime that Plaintiffs claim is due.

As already stated, the Court has not yet decided who will prevail
IV. NO RETALIATION PERMITTED

If you join this lawsuit, federal law prohibits Airstream from retaliating against you as a result of your
participation The FLSA specifically prohibits an employer from taking an adverse employment action against an
employee because he or she is seeking to enforce his or her right to regular and/or overtime pay. Completing and
returning a “Consent to Join” is protected by the FLSA from retaliation The FLSA protects current and former
employees from retaliation regardless of whether they are ultimately determined to be entitled to compensation
Thus, whether the lawsuit is won or lost, every current or fenner employee who opts-in to the lawsuit is protected
from retaliation

V. DEFINITION OF THE CLASS

Plaintiffs seek to sue on behalf of themselves and those similarly situated who are current or former hourly,
non-exempt Airstream employees employed on or after March l, 2015, who received additional remuneration in
workweeks that they worked over forty (40) hours.

If you received a copy of this notice in an email or envelope specifically addressed to you, the records of
Airstream indicate that you fit the definition

VI. YOUR RIGHT TO PARTICIPATE IN THIS LAWSUIT

We have been authorized by Judge Walter H. Rice of the United States District Court for the Southern
District of Ohio, Dayton Division, to notify you, as a current or former hourly, non-exempt Airstream employee,
that a lawsuit has been Hled, alleging that Airstream violated wage and hours laws for employees who were paid

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one-and-one-half times their regular hourly rate of pay for all hours worked over forty (40) in a workweek since
March l, 2015. By sending in the attached opt-in consent, you may join the lawsuit to seek compensation for
these hours worked since March l, 2015, but not paid.

The Court's authorization to send this Notice does not mean that your claim to additional overtime
compensation will be upheld by the Court. Sending a Notice is separate from a determination on entitlement to
pay, and only informs you of your right under the Fair Labor Standards Act to participate in this case.

lf you worked for Airstream as an hourly, non-exempt employee and you
received Attendance or production bonus payments in any workweek that you
also worked over 40 hours, you may join the lawsuit by sending in the attached
“Consent to Join.”

You may join this lawsuit by mailing your completed and signed “Consent to Join” in the self-addressed
stamped envelope provided or by otherwise sending the “Consent to Join” by mail, email, or fax to one of the
following addresses

Coffman Legal, LLC BRYANT LEGAL, LLC
Matthew J.P, Coff`man Daniel I. Bryant
1457 S. High St. 1457 S. High St.
Columbus, Ohio 43207 Columbus, Ohio 43207
Telephone: (614) 949-1181 Telephone: (614) 704-0546
Fax: (614) 386-9964 Fax: (614) 573-9826
Email: mcoffman@mcoffmanlegal.com Email: dbryant@bryantlegalllc.com
www.mcoffrnanlegal.com www.bryantlegalllc.com

lf you wish to opt-in, your “Consent to Join” must be returned postmarked no later than September 4,
2018. If you fail to return the “Consent to Join” by the September 4, 2018, deadline, you will not be able to
participate in the lawsuit, and you will not be eligible to participate in any recovery that may be obtained by the
lawsuit.

lf you file a “Consent to Join,” your continued right to participate in the lawsuit may depend upon later
decisions by the District Court concerning the appropriateness of collective action treatment and whether you are
similarly situated to other participants and other matters

VII. EFFECT OF JOINING THIS LAWSUIT

If you join the lawsuit, and the Court finds that Airstream did not correctly calculate your regular rate of
pay for purposes of calculating overtime compensation you may be entitled to monetary recovery. in addition to
any unpaid overtime compensation you may also be entitled to up to an equal amount in liquidated damages
However, liquidated damages are not guaranteed, and are not available if Airstream shows to the satisfaction of
the court that the act or omission giving rise to such action was in good faith and it had reasonable grounds for
believing that its act or omission was not a violation of the FLSA.

If you join the lawsuit, and the Court rules in favor of Airstream, you will be entitled to no relief. The
Court may also find that, while Airstream made an error, you have already been made whole by Airstream and
are not entitled to any further damages

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You should also understand that, as a party to this lawsuit, there is a possibility that you may be required
to provide information about your employment with Airstream, answer written questions, produce documents
and/or testify at a pre-trial deposition or at trial.

You will not be required to pay any legal fees Plaintiffs’ attorneys are being paid on a contingency fee
basis, which means that, if there is no recovery, the attorneys will receive nothing If there is a recovery, the
attorneys will receive a part of any recovery you might obtain, or may seek to obtain a Court Order under which
they may receive a fee through a separate payment by Airstream. However, Plaintiffs, including those who opt-
in to the lawsuit, will remain responsible for paying their expenses of the litigation and may also be held liable
for Airstream’s costs of the litigation if Airstream prevails

By joining this lawsuit, you are designating the attorneys identified in Section IX to represent your interest.
In addition, by joining this lawsuit you will be bound by the judgment of the Court on all issues in this case,
including the reasonableness of any settlement.

VIII. NO LEGAL EFFECT OF NOT JOINING THE LAWSUIT

lf you do not join the lawsuit, you will not be affected by any judgment or settlement resulting from the
lawsuit and relating to Plaintiffs’ claims This means that you give up the possibility of getting money or benefits
that may come from a trial or settlement in this lawsuit if the claims made on behalf of the class are successful
This also means that you keep any rights to file your own suit against Airstream about the same legal claims in
this lawsuit; however, the limitations period on your legal claims will continue to run until you do.

IX. YOUR LEGAL REPRESENTATION IF YOU JOIN

The attorneys for Plaintiffs and any Airstream employee that elects to join this case are the law firms of
Coffman Legal, LLC and Bryant Legal, LLC. Their addresses and phone numbers are as follows:

Coffman Legal, LLC BRYANT LEGAL, LLC
Matthew J.P. Coffman Daniel I. Bryant
1457 S. High St. 1457 S. High St.
Columbus, Ohio 43207 Columbus, Ohio 43207
Telephone: (614) 949-1181 Telephone: (614) 704-0546
Fax: (614) 386-9964 Fax: (614) 573-9826
Email: mcoffman@mcoff`manlegal.com Email: dbryant@bryantlegalllc.com
www.mcoffmanlegal.com www.bryantlegalllc.com

lf you choose to join the lawsuit, the law firms listed above will be representing you unless you obtain
another attomey. You have the option to retain an attorney of your own choice.

X. FURTHER INFORMATION

For further information about this lawsuit, you may contact Plaintiffs’ counsel by mail, telephone, or email
at the addresses indicated above in section IX. You may also contact Airstream’s defense counsel as follows:

Dinsmore & Shohl LLP
Karen S. Hockstad
Vladimir P. Belo
191 W. Nationwide Blvd., Suite 300
Columbus, Ohio 43215

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Telephone: (614) 628-6880
Email: karen.hockstad@dinsmore.corn
vladimir.belo@dinsmore.com

THIS NOTICE HAS BEEN AUTHORIZED BY THE UNITED STATES DISTRICT JUDGE WALTER
H. RICE OF THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF
OHIO, WESTERN DIVISION. THE COURT HAS TAKEN NO POSITION REGARDING THE

MERITS OF THIS LAWSUIT.

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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION AT DAYTON

Sandra Funk, *

-X'

On behalf of herself and other
members of the general public Case No. 3;17-cv-260

similarly situated,
Judge Walter H. Rice

*

Plaintiff,
v.

Airstream, lnc., er al.,

Defendants.

CONSENT TO JOIN
l have read the accompanying document entitled “NOTICE OF COLLECTIVE ACTION LAWSUIT,”

and l hereby consent, pursuant to Section 16(b) of the Fair Labor Standards Act (“FLSA”), to participate as a
plaintiff in the above-captioned lawsuit and to pursue all FLSA claims asserted therein l agree to be represented
by the law firms of Coffman Legal, LLC and Bryant Legal, LLC. I understand that I will be bound by the judgment

of the Court on all issues in this case, including the fairness of any settlement.

 

 

 

 

Signature Date
Name (Please Print Neatly) Email address
Address

 

City, State, Zip Code

 

Phone Number

To participate in this action, you must return this form to the following address in the prepaid envelope
postmarked on or before September 4, 2018. You can also join this lawsuit by emailing your completed
“Consent to Join” to mcoffman@mcoffmanlegal.com or faxing it to 614-386-9964 by September 4, 2018.

Coffman Legal, LLC
1457 S. High St.
Columbus, Ohio 43207
Telephone: (614) 949-1181 Fax: (614) 386-9964
www.mcoffmanlegal.com

